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 2                                 UNITED STATES DISTRICT COURT

 3                                          DISTRICT OF NEVADA

 4                                                     ***
     UNITED STATES OF AMERICA,                           )
 5                                                       )
                              Plaintiff,                 )
 6                                                       )       2:11-cr-00261-GMN -VCF
     v.                                                  )
 7                                                       )       ORDER
     GONZALEZ-MEZA, et al.,                              )
 8                                                       )
                              Defendants.                )
 9                                                       )

10            Before the court is defendant Monica Lopez’ Motion To Suppress Evidence. (#25). The parties

11   stipulated on December 14, 2011 (#27and #28), January13, 2011 (#29 and #30), and February 7, 2012

12   (#34 and #35), to extend the time in which the government’s response was due. In the most recent

13   stipulation signed by the court, the parties stated that the extension is warranted because “[d]efendant

14   signed a plea agreement and the matter is set for change of plea on March 1, 2012.” (#35). The parties

15   also stated that “[o]nce [d]efendant enters her plea of guilty, defense counsel intends to withdraw the

16   Motion to Suppress.” Id.

17            On March 1, 2012, defendant Lopez entered a plea of guilty to count one (#39) pursuant to a

18   written plea agreement (#38). The court scheduled her sentencing for March 19, 2012, at 10:30 a.m.

19   (#39).

20            Accordingly, and for good cause shown,

21            IT IS ORDERED that defendant Monica Lopez’ Motion To Suppress Evidence (#25) is

22   DENIED as moot.

23            DATED this 8th day of March, 2012.

24
                                                   CAM FERENBACH
25                                                 UNITED STATES MAGISTRATE JUDGE
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